Case 2:24-cv-00144-TFM-MU           Doc# 24       Filed 02/04/25     Page 1 of 1       PageID# 97




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

HENRY ROBERT COLE,                                )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )   CIV. ACT. NO. 2:24-cv-144-TFM-MU
                                                  )
TRANS UNION LLC,                                  )
                                                  )
       Defendant.                                 )

                            NOTICE OF ACKNOWLEDGMENT

        Pending before the Court is the Joint Stipulation of Dismissal With Prejudice (Doc. 23,

filed 1/24/25) in which the parties jointly agree to dismiss all claims with prejudice. The Rules of

Civil Procedure permit a plaintiff to voluntarily dismiss the action without an order of the court

“by filing a notice of dismissal before the opposing party serves either an answer or a motion for

summary judgment” or “a stipulation signed by all parties who have appeared.” FED. R. CIV. P.

41(a)(1)(A).

       Here, the joint stipulation is signed by both sides. Consequently, by operation of Fed. R.

Civ. P. 41(a)(1)(A)(ii), this action has been dismissed in accordance with the joint notice.

Therefore, this case is dismissed with prejudice with each party to bear their own attorneys’ fees

and costs.

       The Clerk of the Court is DIRECTED to close this case.

       DONE and ORDERED this 4th day of February, 2025.

                                              /s/ Terry F. Moorer
                                              TERRY F. MOORER
                                              UNITED STATES DISTRICT JUDGE




                                            Page 1 of 1
